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NOT FOR PUBLICATION
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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY                      AT8:30                M
                                                                                       WILLIAM T. WALSH
                                                                                            CL ERV


    C. TATE GEORGE,                                         HONORABLE ANNE E. THOMPSON

                              Petitioner,
                                                                          Civil Action
               v.                                                      No. 17-2641 (AET)

    UNITED STATES OF AMERICA,
                                                                            OPINION
                              Respondents.




THOMPSON, District Judge:

         This matter comes before the Court on Petitioner's unopposed motions to supplement and

amend his§ 2255 motion (ECF Nos. 12,14, 17). The motions are being considered on the papers

pursuant to Fed. R. Civ. P. 78(b).

          1.        Petitioner filed a motion to vacate, set aside, ot correct his federal sentence

pursuant to 28 U.S.C. § 2255 on April 18, 2017 (ECF No. 1).

         2.         The Honorable Mary L. Cooper, U.S.D.J., 1 administratively terminated the
                                                       (




motion on May 1, 201 7 as Petitioner had not used the form provided by the Clerk's Office for §

2255 motions. (ECF No. 2).

         3.         Petitioner resubmitted his petition on the proper form on July 7, 2017 (ECF No.

7).




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    The matter was reassigned to the undersigned on July 24, 2017.
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         4.     On August 10 and 15, Petitioner filed two motions to supplement the amended

 petition with exhibits. (ECF Nos. 12 and 14).

         5.     The Court ordered Respondent to answer the amended petition on September 1,

 2017.

         6.     On September 13, 2017, Petitioner filed another motion to amend, this time

 asking to amend the§ 2255 motion itself"to correct certain discrepancies in the pending Section

 2255 petition." (ECF No. 17 if 1).

         7.     The motion to amend (ECF No. 17) does not identify which "discrepancies" in the

 forms that Petitioner completed by himself need to be corrected. Furthermore, motions to amend

· must include "a copy of the proposed amended pleading" and "a form of the amended pleading

 that shall indicate in what respect(s) it differs from the pleading which it proposes to amend, by

 bracketing or striking through materials to be deleted and underlining materials to be added."

 Local Civ. R. 15. l(a). Petitioner's motion does not comply with either of these requirements.

         8.     The Court shall grant Petitioner's motions to supplement (ECF Nos. 12 and 14) in

 substance and direct the Clerk to file the documents as exhibits in support of the amended

 petition.

         9.     The Court will deny Petitioner's motion to amend for failure to comply with the

 rules regarding amending pleadings. He may refile his motion to amend by filing a motion that

 complies with the Federal and Local Civil Rules, specifically by including a proposed second

 amended § 2255 petition. The proposed second amended pleading should be on the correct §

 2255 form.




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        10.    In light of Petitioner's prose status, the Court will relieve him of the requirement

that the proposed second amended pleading contain bracketing, strikethroughs, or underlining to

indicate the revisions.

        11.    An appropriate order follows.




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